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                                EXHIBIT 2
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Effective: 1 FEB 2019                                             Expires: 1 JUL 2019




                  Engine Start Guidelines

Bulletin Purpose: Provide guidance on Engine Starts for maintenance acceptance,
verification or calibration on revenue flights.

General
Occasionally crew members conducting revenue flights may be requested by
maintenance to conduct an engine start for a maintenance acceptance, verification, or
calibration, i.e., to comply with a DDG, (disconnect an IDG) or check for a leak.

Engine Starts by Line Crew Member Guidelines
   As part of a revenue flight
   When requested by maintenance for the purpose of acceptance, verification or
     calibration
   Follow all Normal Before Start, Start, Shutdown, and After Shutdown Procedures
     and Checklists
   Not above IDLE POWER

           Note: Unless specifically trained, crew members will not perform maintenance
           engine run-ups.

FOM
There is a bulletin to the FOM in process which will be submitted to the FAA.
